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10
                                 UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12
                                      OAKLAND DIVISION
13

14
     IN RE CALIFORNIA BAIL BOND ANTITRUST           Lead Case No. 19-cv-00717-JST
15   LITIGATION
                                                    STIPULATION AND
16   This Document Relates To:                      [PROPOSED] ORDER RE RULE 26
                                                    DISCLOSURES
17               ALL ACTIONS

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                                                           STIPULATION AND [PROPOSED] ORDER
     2031633.2                                                   LEAD CASE NO. 19-CV-00717-JST
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 1               WHEREAS, on August 11, 2020, the Court lifted the stay of discovery in the above-
 2   entitled action (ECF No. 126) (“Order”);
 3               WHEREAS, the Order directed the parties to meet and confer regarding an appropriate
 4   Rule 26 disclosure deadline (Order at 3);
 5               WHEREAS, the parties met and conferred regarding the Rule 26 disclosure deadline.
 6               NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, between Plaintiffs
 7   and Defendants in the above-entitled action, that:
 8                  1. The parties shall meet to discuss the remaining items in Rule 26(f)(2)-(3) and the
 9                      Northern District of California’s ESI Guidelines and Checklist by September 4,
10                      2020.
11                  2. The parties shall exchange initial Rule 26(a)(1) disclosures by September 18,
12                      2020.
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                                                                          STIPULATION AND [PROPOSED] ORDER
     2031633.2
                                                      -2-                       LEAD CASE NO. 19-CV-00717-JST
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                                                             STIPULATION AND [PROPOSED] ORDER
     2031633.2
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       Case 4:19-cv-00717-JST Document 127 Filed 08/18/20 Page 4 of 10



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 1   Dated: August 18, 2020        By: /s/ John M. Rorabaugh
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 1                                               ATTESTATION
 2               I, Dean M. Harvey, in compliance with Local Rule 5-1(i)(3), hereby attest that I obtained
 3   the concurrence of all of the above-listed counsel in filing this document.
 4

 5   DATED: August 18, 2020                                  /s/ Dean M. Harvey
                                                             Dean M. Harvey
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 1                                      ORDER
 2   THE FOREGOING STIPULATION IS APPROVED AND IT IS SO ORDERED.
 3

 4   Dated:
                                                 THE HONORABLE JON S. TIGAR
 5                                               UNITED STATES DISTRICT JUDGE

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